53 F.3d 346NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    Benigno V. PONTECHA, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 95-3203.
    United States Court of Appeals, Federal Circuit.
    April 3, 1995.
    ORDER
    
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      Benigno V. Pontecha's motion for leave to proceed in forma pauperis having been granted, and his Fed.Cir.R. 15(c) statement and informal brief having been received,
    
    IT IS ORDERED THAT:
    
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      (1) The court's February 7, 1995 dismissal order is vacated, the mandate is recalled, and Pontecha's petition is reinstated.
    
    
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      (2) The Office of Personnel Management should compute the time for filing its brief from the date of filing of this order.
    
    